                                                  Case:10-09066-swd       Doc #:34 Filed: 07/26/18             Page 1 of 2

                                                                               Form 1                                                                              Page: 1

                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         10-09066 SWD                                                        Trustee: (420150)           THOMAS R. TIBBLE
Case Name:           MILNICKEL, ALFRED L                                                 Filed (f) or Converted (c): 07/23/10 (f)
                     MILNICKEL, TAMI J                                                   §341(a) Meeting Date:       09/20/10
Period Ending:       06/30/18                                                            Claims Bar Date:

                                  1                                   2                         3                          4                  5                    6

                       Asset Description                           Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                                Remaining Assets

 1       Property located at 69497 68th. Ave., Watervliet           135,000.00                          0.00                                       0.00                   FA

 2       Property located at 69501 68th Ave., Watervliet,           120,000.00                          0.00                                       0.00                   FA

 3       Checking account w/ PNC Bank 2 East Main St. Har                 711.00                        0.00                                       0.00                   FA

 4       Living room property                                             770.00                        0.00                                       0.00                   FA

 5       Dining room property                                             485.00                        0.00                                       0.00                   FA

 6       Bedroom(s) property                                              535.00                        0.00                                       0.00                   FA

 7       Kitchen property                                                 885.00                        0.00                                       0.00                   FA
 8       Miscellaneous property not applicable to any spe              3,790.00                         0.00                                       0.00                   FA

 9       Miscellaneous books, pictures, and art                           300.00                        0.00                                       0.00                   FA

10       All clothing and shoes                                           500.00                        0.00                                       0.00                   FA

11       Profit sharing Plan w/ Lane Automotive, Inc. (Me             36,864.08                         0.00                                       0.00                   FA

12       Accrued income Wages: $731.55 Rental Income: $62              1,353.68                         0.00                                       0.00                   FA

13       Anticipated 2010 income tax refund (Approximate)              1,435.00                         0.00                                       0.00                   FA

14       2006 Chevrolet Trailblazer                                   15,030.00                         0.00                                       0.00                   FA

15       2001 Chevrolet Blazer (DAUGHTER'S VEHICLE) VIN #              2,500.00                         0.00                                       0.00                   FA

16       possible medical malpractice settlement recovery (u)               1.00                        1.00                                       0.00                  1.00

16       Assets             Totals (Excluding unknown values)      $320,159.76                         $1.00                                      $0.00                 $1.00




                                                                                                                                         Printed: 07/26/2018 11:20 AM   V.14.14
                                               Case:10-09066-swd             Doc #:34 Filed: 07/26/18           Page 2 of 2

                                                                                 Form 1                                                                               Page: 2

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Ref. #                                                                                      and Other Costs)                                                 Remaining Assets



    Major Activities Affecting Case Closing:
            06/26/18-case Reopened; withdrew NDR, closed 341, filed Form 1, possible medical malpractice settlement

    Initial Projected Date Of Final Report (TFR): December 31, 2018                    Current Projected Date Of Final Report (TFR): December 31, 2018




                                                                                                                                            Printed: 07/26/2018 11:20 AM   V.14.14
